    4:22-cv-01235-JD          Date Filed 04/07/25        Entry Number 137          Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT


                       FOR THE DISTRICT OF SOUTH CAROLINA

                                    FLORENCE DIVISION



  DHD Jessamine, LLC,                    )                      Civil Action Number:
                                         )                       4:22-cv-01235-JD
                  Plaintiff,             )
                                         )
  and                                    )
                                         )
  William D. Tallevast, V.,              )
                                         )
                   Intervenor-Plaintiff, )            SUR-REPLY TO PLAINTIFF AND
                                         )         INTERVENOR-PLAINTIFF’S REPLY TO
  v.                                     )           DEFENDANT’S GLOBAL RESPONSE
                                         )
  Florence County, South Carolina,       )
                                         )
                  Defendants.            )
  _________________________________ )

       In their latest reply, Plaintiff and Intervenor-Plaintiff (hereinafter collectively referred to

as “Plaintiffs”) raised a new argument which has not been previously raised in any of the briefing

formerly submitted to the Court, stating “Defendant’s argument that the failure of Plaintiff and

intervenor Plaintiff to exhaust state court remedies is fatal to their substantive due process claims

is waived” by virtue of the fact that Defendant did not plead exhaustion of administrative remedies

in its answer to Plaintiffs’ complaints. ECF No. 133 at 6.

       Plaintiffs are conflating two unrelated bodies of law. Failure to exhaust administrative

remedies, as it pertains to § 1983, is an affirmative defense created by statute, such as the Prison

Litigation Reform Act, or PLRA, which does not result in judgement on the merits. Dickey v.

Cohen, No. CV 9:19-2450-SAL-MHC, 2020 WL 7249905, at *2 (D.S.C. July 24, 2020), report

and recommendation adopted, No. 9:19-CV-2450-SAL, 2020 WL 6707610 (D.S.C. Nov. 16,
    4:22-cv-01235-JD          Date Filed 04/07/25        Entry Number 137          Page 2 of 3




2020). Indeed, the cases cited by Plaintiffs are PLRA cases brought by inmates to which the PLRA

applies and discuss the statutorily created affirmative defense of exhaustion of administrative

remedies. See id; see Wilcox v. Brown, 877 F.3d 161, 167 (4th Cir. 2017); see Moore v. Bennette,

517 F.3d 717 (4th Cir. 2008). Defendant does not argue that Plaintiff has failed to exhaust

administrative remedies, nor has Defendant attempted to invoke any affirmative defense under the

PLRA. Rather, Defendant argues that Plaintiffs’ due process claims must be dismissed on the

grounds that Plaintiffs were not deprived of due process. To succeed on their due process claims,

Plaintiffs must show the “state’s action falls so far beyond the outer limits of legitimate

governmental action that no process could cure the deficiency.” Sylvia Dev. Corp. v. Calvert Cnty.,

Md., 48 F.3d 810, 827 (4th Cir. 1995). State court remedies are processes which could cure any

purported deficiencies. Plaintiff cannot prove this essential element of its claim without having

utilized the processes provided by the state See id (stating a Plaintiff who did not pursue its claim

in state court “cannot now argue that the County’s alleged violation of state law infringed its

substantive due process rights.”). Therefore, this argument is not an affirmative defense, but an

undisputed fact which undermines an essential element of Plaintiffs’ claims. 1 Likewise, Plaintiffs

need not be put on notice that they must prove an essential element of their substantive due process

claims. Therefore, Plaintiff’s contention that Defendant has waived this argument is meritless.

       Finally, Plaintiff raises another new argument on reply, namely that Tri-Cnty Paving, Inc.

v. Ashe Cnty., 281 F.3d 430 (4th Cir. 2002), only applies to procedural due process claims, not

substantive due process claims. Plaintiff is incorrect. Tri-Cnty Paving states: “the fact that state




1
 For an analogous example, the breach of a duty is an essential element to a negligence claim;
however, the lack of the breach of a duty is not an affirmative Defense. A negligence Defendant
does not have to affirmatively plead or show that they did not breach a duty—it is incumbent on a
Plaintiff to prove this element of his or her claim.
    4:22-cv-01235-JD          Date Filed 04/07/25       Entry Number 137          Page 3 of 3




courts are available to redress and correct violations of state law belies the existence of a

substantive due process claim.” Tri-Cnty. Paving, 281 F.3d at 441 (internal quotations removed

and emphasis added); see also ECF No. 89-1 at 5 (Defendant’s initial memorandum in support of

summary judgment in which they cite to the same). The Court went on to state that “[a]s previously

discussed, the North Carolina courts were available for TCP to challenge the County's actions. But

TCP did nothing to pursue its claim in state court. TCP cannot now argue that the County's alleged

violation of state law infringed its substantive due process.” Tri-Cnty Paving, 281 F.3d at 441.

Given that the Tri-Cnty Court specifically states that its reasoning as to procedural due process is

also applicable to a substantive due process claim, this argument by Plaintiffs is meritless.

       For the foregoing reasons, Defendant’s motion for summary judgment must be granted as

to Plaintiff’s substantive due process claims. 2

                                                      Respectfully submitted,

                                                      DAVIDSON &WREN, P.A.


                                                        s/John P. Grimes, Jr.
                                                      William H. Davidson, II, #425
                                                      John P. Grimes, Jr. #13808
                                                      1611 Devonshire Drive, 2nd Floor
                                                      Post Office Box 8568
                                                      Columbia, South Carolina 29202
                                                      T: 803-806-8222
                                                      F: 803-806-8855
                                                      wdavidson@dml-law.com
                                                      jgrimes@dml-law.com

                                                      Counsel for Governmental
                                                      Defendants
Columbia, South Carolina
April 7, 2025



2
  Counsel would also briefly note that in drafting his previous filing, he inadvertently overlooked
that the Court had indicated it would consider summary judgment independent of motion.
